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IN THE UNITED STATES _DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

DEBORAH S. HENZE
264 Flerning Avenue
Hanover, Pennsylvania 17331,

Plaintiff,
V.
ALFRED LEE-YOUNG, M.D.
216-A Washington Heights Medical Center
Westminster, Maryland 21157,

and

CARROLL DIGESTIVE ASSOCIATES, P.A.

216-A _Washington Heights Medical Center
Westminster, Maryland 21 157,

SERVE ON:

Choon K. Kim, Resident Agent
14 Valleywood Coul't

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Tirnon'lum, Maryland 21093, * Civil Action No.:
Defendants. *
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COMPLAINT

Deborah Henze, Plaintiff, by and through her undersigned attorneys, Stephen J. I-Iughes and

Treanor Pope & Hughes, P.A., Sue Alfred Lee-Young, M.D. and Carroll Digestive Associates, P.A., and

in Support thereof, State:

 

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JURISDICTlON AND VENUE

1. Plaintiff Deborah Henze is a citizen and resident of the Commonwealth of Pennsylvania
residing at 264 Fleinming Avenue, Hanover, Pen_nsylvania 17331.

2. Alfred Lee-Young, M.D. (“Dr. Lee-Young”) is, on information and belief, a citizen and
resident of Carroli County, Maryland, Who regularly transacts business and provides medical care and
treatment to patients in Carro]l County and other counties in the State of Maryland.

3. Carroil Digestive Associates, P..A (the “P.A.”) is, on information and belief, a
Professional Association organized and operatingunder the laws of the State of Maryland and Was, at all
times relevant hereto, a Health Care Provider wh_ich, by its agents, servants and employees, both actual
and/or apparent, rendered medical care to citizens of the State of Maryland, including Carroll County.
At all times relevant hereto, the P.A. Was the acttial and/or apparent employer of Dr. Lee-Young.

4. The amount of this claim exceedslSeventy-Five Thousand Doilars ($75,000.00).

5. This Court has original subject matter jurisdiction over this matter pursuant to the
provisions of 28 U.S.C. § 1332, because the amount in controversy exceeds the sum of $75,000,
exclusive of interest and costs, and the action is '.between citizens of different states. There is complete
diversity of citizenshipl

6. This action Was filed before the-rHealth Care Alternative Dispute Resolution Oftice of
Maryland on lime 18, 2010, at which time a Claim Form, Personal Information Certification and
Statement of Claim Were filed With the HCAD:RO. On or about December 15, 2010 a Certiiicate of
Merit and Attached Report of Michael D. Apstein, Jr., M.D. Was filed vvith the HCADRO. A true and
correct copy of this document is attached hereto as Bxhibit l. On February 22, 2011 a Notice of

Clairnants’ Election to Waive Arbitration was filed With the HCADRO, and on March 1, 2011, the

 

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Director of the HCADRO entered an Order transferring the case to the United States District Court for
the District of Maryland, Northern Division, A true and correct copy of the Order of Transfer is
attached hereto as Exhibit 2. l

FACTS COMMCN TO ALL COUNTS

7. At all times relevant hereto, Defendants Dr. Lee-Young and the P.A. held themselves out
to the public at large, and to the Plaintiffs in particular as capable of providing specialized medical care
to citizens of the State of Maryland, including Carroll County, particularly with respect to the diagnosis
and treatment of gastrointestinal disorders

8. On or about lanuary 31, 2006 Plaintiff Deborah Henze came under the care of Dr. Lee-
Young. At that time, Dr. Lee-Young prescribed-720 mg of Reglan per day for treatment of Mrs. Henze’s
reflux problems

9. At the time he prescribed Reglan to Mrs. Henze, Dr. Lee-Young did not advise Mrs.
Henze of the substantial risks associated With the use of the medication, including the risk of
development of neurological disorders such as Tardive Dyskinesia.

10. On or about June 30, 2006 Dr. Lee-Young saw Mrs. Henze for the purpose of assessing
her gastric reflux. ln response to that problem, Dr. Lee-Young prescribed several medications, and
increased the dose of Reglan to be taken to 40 mg per day. Dr. Lee~Young gave Mrs. Henze a
prescription for a 90 day supply of 40 mg. Reglan, with several refills.

ll. At the time he prescribed the increased dosage of Reglan to Mrs. Henze as aforesaid, Dr.
Lee-Young did not advise Mrs. Henze of the substantial risks associated with the use of the medication,
including the risk of development of neurological disorders such as Tardive Dysl<inesia. He further

failed to advise Mrs. Henze that the risk of such complications increased dramatically with prolonged

 

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use of the medication, and that the manufacturer had issued a cautionary warning that the drug was only
indicated for short-term use (four to twelve weeks).

12 Mrs. Henze took the medication as prescribed by Dr. Lee~Young. lt afforded some relief
of her reflux symptoms

13. On September 29, 2006 Mr's. He_nze saw Dr. Lee-Young in follow up for her retlux
condition. On that cccasion, he advised Mrs. Henze to continue taking Reglan, again at a dose of 20 mg.
per day. Mrs. Henze was advised to continue to take this medication for an additional six months, and
then to come back and see Dr. Lee~Young for further assessment

14. At the time he advised l\/lrs. Henze to continue use of Reglan for a period of a further six
months, Dr. Lee-Young again failed to advise Mrs.' Henze of the substantial risk associated with use of
the medication, including the risk of developing neurological disorders such as Tardive Dyskinesia. He
further failed to advise Mrs. I-Ienze that the risk of such complications increased dramatically with
prolonged use of the medication, and that the manufacturer had issued a cautionary warning that the
drug was only indicated for short-term use (four to twelve weeks).

15 . Mrs. Hen_ze continued to take the _Reglan, along with other medications prescribed by Dr.
Lee-Young over the course of the ensuing six months n

16. During this period, Mrs. lienze_ began to develop some mild abnormal neurological
symptoms, including photophobia and facial ticks and Spasms Which over the course of the ensuing
months grew progressiver worse. Mrs. Henze_: was unaware that any of these symptoms could have
been caused by any of the medications that Dr. Lee-Young had prescribed; she therefore did not

understand what Was causing these symptoms

 

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17. Mrs. Henze saw Dr. Lee-Young again on March 23, 2007. At that time, Dr. Lee-Young
did not inquire as to any neurological symptoms she might be having. He recommended that she
continue on Reglan at the 20 mg. per day dose. w

18. Following the March 2007 visit with Dr. Lee~Young, Mrs. Henze’S neurological
symptoms continued to worsen. She saw Dr. Lee-Young again on May 3, 2007, and advised him that
she had developed neurological symptoms and-:spasms. By this time, Mrs. Henze had discontinued
taking the Reglan, and was trying to find an explanation for the possible causes of her neurological
symptoms l

19. At no time during the visit of May 3, 2007 did Dr. Lee-Young advise Mrs. Henze of the
risks associated with prolong use of Reglan or that the medication was known to cause neurological
symptoms of the type which Mrs. Henze had been experiencing

20. l In the Spring and Summer of 2007, Mrs. Henze saw several physicians in an effort to
ascertain the nature and cause of her neurological symptoms

21. In or about late June of 2007, l\/lrs. Henze came under the care of Dr. Allan Genut, a
neurologist in ’l`owson, Maryland. Dr. Genut performed a total neurological exam and questioned her
carefully about her medical history. When Dr. Genut learned that l\/lrs. Henze had been taking Reglan,
he told her for the first time that the neurological symptoms she had been experiencing were likely
related to the prolonged Reglan use. 7

22. Despite visiting several specialists and receiving multiple forms of treatment to control
her neurological symptoms, Mrs. Henze continues to suffer from various ticks, spasms and involuntary

jerking motions of the face and neck, all of which are directly attributable to prolonged Reglan exposure

 

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COUNT I
NEGLIGENCE
(Alfred Lee-Young, M.D.)

23. The facts and matters alleged in paragraphs l through 22 are repeated and re-alleged as if
fully set forth herein. l

24. As a l~lealth Care Provider rendering services to patients in the State of Maryland, Dr.
Lee-Young owed to the public at large and to l\/lrs. Henze in particular a duty to exercise that degree of
skill and care ordinarily exercised by reasonably competent practitioners within their area of specialty
acting under the same or similar circumstances -

25. Dr. Lee-Young breached the applicable standards of care in the care and treatment
rendered to Mrs. Henze in that he failed to use adequate skill and care in recommending treatment for
her reflux condition, recommended treatment inodalities that were dangerous when other,- less dangerous
alternatives were available, and recommended prolonged use of a medication which he knew or should
have known posed an unreasonable risk of long-term neurological injury to Mrs. Henze, and was
otherwise negligent

26. As a direct result of the negligence of Dr. Lee-Young as aforesaid, Mrs. Henze has
developed aprofound and permanent neurological disorder known as Tardive Dyskinesia. As a
consequence of developing this condition, Mrs.-- Henze has experienced significant disability, and has
been caused to suffer extreme pain, mental anguish, ongoing embarrassment, humiliation and other

economic and non-economic damages, including past and future medical expenses, without any

negligence on her part contributing thereto.

 

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WHEREFORE, Deborah Henze, Plaintiff, demands judgment against Defendant Aifred Lee-
Young, M.D., for all injuries and damages which she has suffered as a direct consequence of the
negligence of this Defendant, as aforesaid

COUNT ll
INFORMED CONSENT
(Alfred Lee-Young, M.D.)

27 . The facts and matters alleged in paragraphs l through 26 are repeated and re-alleged as if
fully set forth herein.

28.' As a Health Care Provider rendering care to Deborah Henze, Dr. Lee-Young owed to
Mrs. Henze a duty to obtain her proper informed consent to any contemplated therapy, treatment or
procedure by apprising Mrs. Henze of the risks, benefits, potential complications and reasonable
alternatives to any proposed treatment

29. Dr. Lee-Young failed to disclose to Mrs, Henze all of those risks, complications and
alternatives to treatment that are reasonably prudent patient in the position of Mrs. Henze would
consider material in making a decision as _to -'whether or not to submit to the proposed treatment
Specifrcally, Dr. Lee-Young failed to apprise Mrs. Henze of the substantial risk of neurological injury
posed by prolonged Reglan use.

30. By failing to so advise Mrs. Henze, Dr. Lee-Young failed to obtain her proper informed
consent to the proposed treatment

31. As a direct and proximate result o_`f the failure of Dr. Lee-Young to obtains Mrs. Henze’s

proper informed consent, Mrs. Henze was caused to suffer and sustain a severe neurological injury

accompanied by extreme and persistent pain, limitations of activities, mental anguish, embarrassment

 

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humiliation, past and future medical expenses, and other damages, without any negligence on her part
contributing thereto.

WHEREFORE, Deborah Henze, Plaintiff, requests the entry of judgment against Alfred Lee-
Young, M.D. for all injuries and damages which-she has sustained as a consequence of this Defendant’s
failure to obtain her proper informed consent

COUNT III
VICARIOUS LIABILITY
(Carroll Digestive Associates P.A.)

32. The facts and matters alleged in paragraphs l through 31 are repeated and re-alleged as if
fully set forth herein. l

33. Dr. Lee-Young was, at all times relevant hereto, the actual or apparent agent of the P.A.,
acting within the scope of his employment

34. The P.A. is vicariously liable for the negligence conduct of its actual and/or apparent
agents, servants and employees committed while-acting within the scope of their employment

35. The P.A. is therefore vicariously liable for the negligence of Dr. Lee-Young as aforesaid,
in connection with this care and treatment of the l>laintiff, Deborah Henze.

WHEREFORE, Deborah Henze, Plaintiff, demands judgment against Carroll Digestive
Associates, P.A. for all injuries and damages which she has sustained as a consequence of the

negligence of its actual and/or apparent agents,: servants and employees, including Dr. Lee-Young as

aforesaid

 

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Respect_fully submitted,

 
 

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